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                                                                         EXHIBIT 1
             Week Number -->                             1           2           3          4           5          6          7          8          9
                                  Actuals
                                       Actual (Begin Cash)   Forecast    Forecast    Forecast    Forecast   Forecast   Forecast   Forecast   Forecast
                                   22-Apr           24-Jun       1-Jul       8-Jul     15-Jul      22-Jul     29-Jul     5-Aug     12-Aug     19-Aug
 Opening Cash Bal                                  49,400     31,717      73,117      48,174     155,874    146,491    206,991    144,448    183,548
 Receipts
                       1801                        6,000       6,000       6,000       6,000       6,000      6,000      6,500      6,500      6,500
                         BB                       12,000      12,000      13,000      14,000      14,000     13,000     13,000     12,000     13,000
                        NJH                        4,500       4,500       4,800       4,800       4,700      4,700      4,700      4,700      4,700
                       CCM                        23,000      23,000      23,000      23,000      23,000     25,000     24,000     24,000     24,000
                   Wholesale                       3,000       3,000       2,000       2,000       2,000      2,000      2,000      2,000      2,000


   Anticipated Secured loan                                                          100,000                 32,000                32,000
           Unsecured Credit                       12,000      12,000      12,000
 Total Receipts                                   60,500      60,500      60,800     149,800      49,700     82,700     50,200     81,200     50,200

 Expenses
 Payroll
                         ICC                      10,500                  10,500                  10,500                10,500                10,500
                   Wholesale                       2,800                   4,000                   4,000                 4,000                 4,000
              Store Managers                       8,583                   8,583                   8,583                 8,583                 8,583
                        Staff                     22,000                  22,000                  22,000                22,000                22,000
                   401k/Fees                                   1,800                   1,800                  1,800                 1,800
                     Benefits                                              8,500                                         8,500

 Rent
                       Aspen
                        1801                       1,500                   1,500                                         1,500
                           BB                      5,000                   5,000                                         5,000
                          NJH                      4,000                   1,160                                         1,160
                         CCM                       8,500                   7,500                                         7,500
                          ICC
                   Wholesale
                   Corp Retail

 Sales tax
                      Aspen
                      Aurora                         100         100                     100                                          100
                     Denver                                                            7,000                                        7,000
                    Colorado                                                          18,000                  3,200                18,000

 Vendor Pymts
Vendor payments Credit card                       12,000      12,000      12,000      12,000      12,000     12,000     12,000     12,000     12,000
          Alpine (Roasting)                        2,000       2,000       2,000       2,000       2,000      2,000      2,000      2,000      2,000
                Accounting                         1,200                               1,200                                        1,200
 Merchant Fees
                    Aspen
                      1801                                     1,200                                          1,200
                         BB                                    1,200                                          1,200
                       NJH                                       600                                            600
                Wholesale                                        200                                            200

 BK Expenses
        Andy Johnson Legal                                                                                              15,000                12,500
                    R2 LLC                                                                                              15,000                15,000
  Other BK Expense-Trustee                                                 3,000

 Total Expense                                    78,183      19,100      85,743      42,100      59,083     22,200    112,743     42,100     86,583
 Ending Cash before Liab                          31,717      73,117      48,174     155,874     146,491    206,991    144,448    183,548    147,165
 Liability Pymts
                     Amex Plat
                      Citi Card
                    Chase Card
                   Capital One
                    US Bank CC
                   Newtek SBA
                            PPP
                           EIDL
                    Alpine LOC
                   US Bank Loc                                                                                  -          -          -          -
                 ARF Financial
                       Kapitus
                      Fox Loan
            MX5 Bridge Loan
 Total Liabilities                                    -          -           -           -           -          -          -          -          -
 Ending Cash after Liab                           31,717      73,117      48,174     155,874     146,491    206,991    144,448    183,548    147,165
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                                                                            Estimated end of BK
                      Week Number -->            10         11         12              13
                                           Forecast   Forecast   Forecast        Forecast           TOTAL
                                            26-Aug      2-Sep       9-Sep          16-Sep
          Opening Cash Bal                 147,165    176,865    129,422         153,822
          Receipts
                                1801         6,000      6,000      6,000           6,000            86,000
                                  BB        13,000     13,000     13,000          13,000           182,000
                                 NJH         4,700      4,700      4,700           4,700            65,600
                                CCM         23,000     23,000     23,000          23,000           329,000
                            Wholesale        2,000      2,000      2,000           2,000            31,000


            Anticipated Secured loan
                    Unsecured Credit
          Total Receipts                    48,700     48,700     48,700          48,700           893,600

          Expenses
          Payroll
                                  ICC                  10,500                     10,500            73,500
                            Wholesale                   4,000                      4,000            26,800
                       Store Managers                   8,583                      8,583            60,081
                                 Staff                 22,000                     22,000           154,000
                            401k/Fees        1,800                 1,800                            12,600
                              Benefits                             8,500                            25,500

          Rent
                                Aspen                                                                  -
                                  1801                  1,500                                        6,000
                                    BB                  5,000                                       20,000
                                   NJH                  1,160                                        7,480
                                  CCM                   7,500                                       31,000
                                   ICC
                            Wholesale
                            Corp Retail

          Sales tax
                               Aspen                                                                   -
                               Aurora                                                100               500
                              Denver                                              14,000            28,000
                             Colorado        3,200                                30,400            72,800

          Vendor Pymts
         Vendor payments Credit card        12,000     12,000     12,000          12,000           168,000
                   Alpine (Roasting)         2,000      2,000      2,000           2,000            20,000
                         Accounting                     1,200
          Merchant Fees
                             Aspen                                                                     -
                               1801                     1,200                                        3,600
                                  BB                    1,200                                        3,600
                                NJH                       600                                        1,800
                          Wholesale                       200                                          600

          BK Expenses
                 Andy Johnson Legal                    15,000                      5,000            52,500
                             R2 LLC                     2,500                      2,500            35,000
           Other BK Expense-Trustee

          Total Expense                     19,000     96,143     24,300         111,083           817,161
          Ending Cash before Liab          176,865    129,422    153,822          91,439            91,439
          Liability Pymts
                              Amex Plat                                                                -
                               Citi Card                                                               -
                             Chase Card                                                                -
                            Capital One                                                                -
                             US Bank CC                                                                -
                            Newtek SBA                                                                 -
                                     PPP                                                               -
                                    EIDL                                                               -
                             Alpine LOC                                                                -
                            US Bank Loc        -          -          -                -                -
                          ARF Financial                                                                -
                                Kapitus                                                                -
                               Fox Loan                                                                -
                     MX5 Bridge Loan                                                                   -
          Total Liabilities                    -          -          -                -                -
          Ending Cash after Liab           176,865    129,422    153,822          91,439            91,439
